                   IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                             DURHAM DIVISION

THOMAS H. KRAKAUER,
on behalf of a class of persons,

       Plaintiff,

v.                                        Civil Action No. 1:14-cv-00333-CCE-JEP

DISH NETWORK, L.L.C.,

       Defendant.


                        PLAINTIFF’S REPLY IN SUPPORT OF
                    MOTION FOR ENTRY OF ORDER GOVERNING
                    DISPOSITION OF UNDISBURSED CLASS FUNDS

                                       Introduction

       In its Final Judgment, this Court incorporated the jury’s finding that all “class

members receive[d]” calls from DISH’s agent in violation of the TCPA. (Doc. 439.) DISH

challenged the jury’s finding on appeal, arguing that class members failed to establish

injury-in-fact under Article III. The Fourth Circuit rejected those arguments, found Article

III standing, and affirmed the judgment. See Krakauer v. Dish Network, L.L.C., 925 F.3d

643, 653-54 (4th Cir. 2019) (“In enacting § 227(c)(5) of the TCPA, Congress responded to

the harms of actual people by creating a cause of action that protects their particular and

concrete privacy interests.”).

       DISH now seeks an Article III do-over, this time with a twist, asserting that the

charities that under the cy pres doctrine would receive unclaimed payments to class

members must establish Article III standing to receive the funds. (DISH Br. at 9.) While




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giving DISH credit for innovative thinking and persistence, Article III injury has been

established and affirmed, and no court has required a recipient of cy pres funds to establish

standing. Nor has any court found, as DISH argues, that cy pres would violate the Rules

Enabling Act or the Seventh Amendment. Cy pres is a remedy, a means of distributing a

judgment obtained on the merits, and not a merits claim subject to a jury’s determination

or an Article III standing analysis.

       DISH supports the balance of its opposition to cy pres with citation to inapposite

cases implicating circumstances not present here — such as Klier v. Elf Atochem North

America, Inc., 658 F.3d 468 (5th Cir. 2011), which held that a district court abused its

discretion in designating unclaimed settlement funds to charities rather than class members,

or Augustin v. Jablonski, 819 F. Supp. 2d 153 (E.D.N.Y. 2011), which found it

impermissible to increase class member recoveries by the amount of undistributed funds,

a method Plaintiff has never proposed.

       Cy pres distribution not only is doctrinally sound and legally permissible, it is the

best way to give effect to the judgment of the jury, this Court, and the Fourth Circuit that

DISH is liable for 51,119 violations, the penalty per violation is $1,200, and that amount,

plus interest, is the price DISH must pay for its misconduct.

                                         Argument

       1. Cy pres recipients need not establish Article III standing.

       There is all the difference in the world between a plaintiff’s standing to sue at the

outset and the downstream effect of the consequences of suit once it has been adjudicated



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in the plaintiff’s favor. The point is compellingly illustrated in Jackson Women’s Health

Organization v. Currier, 349 F. Supp. 3d 536 (S.D. Miss. 2018).

       The plaintiff in Currier was Mississippi’s sole provider of abortion services, suing

to permanently enjoin State legislation banning abortions beyond 15 weeks of the onset of

the woman’s last menstrual period, in contravention of Supreme Court precedent protecting

the right to abortions until fetal viability at 23-24 weeks. The provider’s policy, however,

was to perform no abortions after 16 weeks. The State maintained that even if injunctive

relief were warranted, its temporal bound could extend no farther than the plaintiff’s self-

imposed limit, permitting the legislative bar to stand beyond that point. According to the

State, the plaintiff lacked standing to pursue an injunction restraining enforcement of the

legislation generally “as to pre-viability abortions.” 349 F. Supp. 3d at 543.

       The district court rejected the State’s argument, observing that it “conflated the

[principles] of standing and remedies.” Id. Given that the plaintiff had established injury-

in-fact through the State’s prohibition of a portion of its procedures, the remedy

appropriately focused on the instrument of the injury, that is, the legislation that “could not

be construed or applied without violating precedent,” and that was “not constitutional under

any set of circumstances.” Id. at 544. The violation having been conclusively established

and deemed sufficiently gross, there was simply no justification for circumscribing the

remedy so as to reward the bad actor even a little for daring to do something it had no legal

basis to try.

       Just so here. That the class had standing to pursue its TCPA claims is the law of the

case, DISH had its Seventh Amendment trial, and it has been conclusively established and

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affirmed that DISH committed over 50,000 TCPA violations. Those violations were

flagrant, as reflected by the $1,200 statutory penalty imposed, such that DISH has no

legitimate basis to complain about the propriety of the proposed remedy.                 See,

e.g., Allapattah Servs., Inc. v. Exxon Corp., 333 F.3d 1248, 1258 (11th Cir. 2003) (“[A]

defendant has no interest in how the class members apportion and distribute a damage fund

among themselves.”); see also AMERICAN LAW INSTITUTE, Principles of the Law of

Aggregate Litigation § 3.07, cmt. b (2010) (proceeding “from the premise that funds

generated through the aggregate prosecution of divisible claims are presumptively the

property of the class members”).

       Cy pres recipients of otherwise undistributed class funds are not litigants against the

defendant; they are part of the remedy imposed to ameliorate the effects of the defendant’s

misconduct. No court has ever required a recipient of cy pres funds to prove its standing

as if it were a party, and DISH can cite no authority to support its contrary proposition.

       2. DISH’s Seventh Amendment challenge seeks an unprecedented determination
          that Rule 23 is unconstitutional.

       DISH’s entire Seventh Amendment argument is this:

       [F]orcing DISH to pay for calls when no individual has demonstrated that he
       or she received them violates the Seventh Amendment and, given DISH’s
       interest in only paying legitimate claims, its due process rights. The jury
       here found that DISH was liable to individuals who were injured because
       they received at least two violative phone calls during the class period.
       DISH cannot, consistent with the Seventh Amendment and due process, be
       made liable for individual claims that never were established.

(DISH Br. at 10.) The answer to all of DISH’s constitutional challenges — standing,

Seventh Amendment, and due process — is more or less the same. Cy pres recipients are


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not required to be “individuals who were injured” by DISH’s misconduct, such that they

would need to “establish” their “individual claims.” DISH’s constitutional arguments are

each a variation on the theme that those who receive cy pres awards are the equivalent of

litigants who must establish a cognizable injury, who must be found by a jury to somehow

prove deserving of the class’s largesse, and whose (nonexistent) “claims” must otherwise

be forged in the crucible of trial, hammered and shaped in conformance with DISH’s due

process rights.

       That cannot be the case. Disbursement of unclaimed class funds by a number of

mechanisms short of reversion to the defendant has long been approved throughout the

federal judiciary, as documented in Plaintiff’s opening brief. Cy pres, escheat, and

redistribution to identifiable class members have each, by operation of federal common

law, been engrafted onto the class action mechanism by virtue of the discretion afforded

by Rule 23(d) and by the courts’ inherent discretion to fashion appropriate remedies.

       No court has ever held cy pres distribution unconstitutional as violative of the

Seventh Amendment or of due process. Instead, the courts have striven, in the rare

instances when tension has been asserted between Rule 23 and the federal jury trial

guarantee, to accommodate and assuage any constitutional concerns while preserving the

utility of the class action vehicle. See, e.g., Simon v. Philip Morris, Inc., 200 F.R.D. 21,

46-47 (E.D.N.Y. 2001) (“[T]he language and spirit of the Federal Rules of Civil Procedure

together with the history of the Seventh Amendment and subsequent case law demonstrate

that the Reexamination Clause should not be read as a mandate to constitutionalize civil

procedure in order to frustrate the class action mechanism — a device created to foster

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judicial economy and efficiency by adjudicating, to the extent possible, issues that affect

many similarly situated persons.” (citations and internal quotation marks omitted)).

       3. Cy pres does not violate the Rules Enabling Act.

       Congress, through the Rules Enabling Act, 28 U.S.C. § 2072 (the “Act”), authorized

the Supreme Court, inter alia, “to prescribe general rules of practice and procedure” for

the inferior federal courts, so long as those rules do not “abridge, enlarge or modify any

substantive right.” DISH does not really expound on how any cy pres award in this matter

would violate the Act, except to trot out once more its argument that potential recipients

be treated as litigants. See DISH Br. at 10 (pointing out inappositely that a losing TCPA

plaintiff triggers no obligation “to pay a charity or the government as a consolation”). In

the end, DISH has no substantive right to any portion of the penalties for which it was

adjudicated liable in the name of compensation and deterrence, and was thereby compelled

to pay. See Doc. 293 at 13 (jury instructed that it “can and should also consider the need

to punish companies that violate the Act, and the need to deter future violations”). The

Fourth Circuit upheld this Court’s trebling of the jury’s award as serving the purpose of

deterring future misconduct.

       The idea that cy pres distribution implicates the Act emanates from a law review

article, sprinkled liberally throughout Judge Jones’s concurring opinion in Klier, supra.

See 658 F.3d at 482 (Jones, J., concurring) (“Cy pres distributions arguably violate the

Rules Enabling Act.” (emphasis added)). But no court — not even the Fifth Circuit in

Klier — has invalidated a cy pres award as contrary to the Act.            See id. at 473

(acknowledging that district courts, in appropriate cases, “often dispose of these unclaimed

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finds by making what are known as cy pres distributions”). DISH has offered no credible

basis for this Court to be the first.

       4. The Court has ample discretion to make a cy pres award, which remains the
          best option to effectuate the jury’s findings.

       Plaintiff’s opening brief explained that district courts, inherently and through Rule

23(d), possess broad discretion to formulate “equitable decrees involving the distribution

of any unclaimed class action funds.” Van Gemert v. Boeing Co., 739 F.2d 730, 737 (2d

Cir. 1984); see also Six (6) Mexican Workers v. Arizona Citrus Growers, 904 F.2d 1301,

1307 (9th Cir. 1990). It is well-established that unclaimed class action funds may be

disbursed through cy pres awards, as well as by escheat, pro rata redistributions, and by

reversion. See 4 William B. Rubenstein, et al., NEWBERG ON CLASS ACTIONS § 12:28 (5th

ed. 2011) [hereinafter Newberg]. No principled rationale supports DISH’s assertion that

“[r]eversion is the superior, and the only appropriate, disposition for the unclaimed funds

in this case.” (DISH Br. at 7.)

       The jury found DISH liable for 51,119 violations of the TCPA, and it imposed a

relatively stiff penalty for each in the belief that DISH’s misconduct was serious enough

to justify a proportionate response. This Court trebled the jury’s award on the same

rationale. Permitting reversion would intolerably erode the intended effect of the jury’s

verdict and this Court’s judgment. Cf. Fogie v. Thorn Americas, Inc., No. 3-94-359, 2001

WL 1617964, at *2 (D. Minn. Mar. 9, 2001) (directing distribution to cy pres recipient of

unclaimed $150,000 rather than granting reversion to defendants adjudged liable for

approximately 23,000 violations of usury statute, because “allowing Defendants to retain


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such ill-gotten gains is completely contrary to the final judgment of this Court” and to the

deterrence goals of the underlying legislation).

         Reversion inappropriately rewards the offending party by permitting it to retain the

fruits of its misconduct. See AM. LAW. INST., PRINCIPLES OF THE LAW OF AGGREGATE

LITIG. § 3.07 cmt. B (2010) (rejecting reversion as a vehicle for disbursement of unclaimed

funds because it would “undermine the deterrence function of class actions”). Reversion

should only be considered in narrow circumstances — for example, where the defendant’s

misconduct was merely negligent and it has affirmatively acted in good faith to correct the

resultant injury. See, e.g., Wilson v. Southwest Airlines, Inc., 880 F.2d 807, 815 (5th Cir.

1989).

         Mindful that, just prior to the class period in this proceeding, DISH reached an

agreement with forty-six state attorneys general to control its illegal telemarketing — and

then almost immediately violated it — its protestation that “there is no need for further

deterrence in this case” (DISH Br. at 2) lacks credibility. DISH says that it really means it

this time, emphasizing the government’s “continuing monitoring and enforcement rights,

including through receipt of substantial telemarketing compliance document productions

form DISH at six-month intervals.” (DISH Br. at 12.) In essence, DISH promises to be

good from now on, at least so long as someone is watching.

         Cy pres distributions are not “fluid recovery” as the term is used in Fourth Circuit

precedent.     Whereas a cy pres recipient is almost always a charitable or nonprofit

organization whose work facilitates the interests of the class, fluid recovery allocates class

funds to “a group of individuals that closely approximates the class itself.” Newberg

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§ 12:27. The paradigmatic example occurred in Daar v. Yellow Cab Co., 433 P.2d 732

(Cal. 1967), in which the defendant taxi company was alleged to have collected slightly

higher fares than permitted by law. As it would have been cost-inefficient and largely futile

to attempt to identify the class members who would individually be entitled to minimal

damages, the action was nonetheless permitted to proceed to a settlement whereby the

defendant ultimately rectified its overage by charging less for its future fares than would

otherwise been permitted. Necessarily, the universe of customers reaping the benefits of

the bargain fares did not correspond precisely with those who had previously been

wronged.

       The court of appeals in Windham v. American Brands, Inc., 565 F.2d 59 (4th Cir.

1977) (DISH Br. at 15-16), expressly disapproved of fluid recovery as “a method of

computing damages in a class action,” a methodology that the court termed “‘illegal,

inadmissible as a solution of the manageability problems of class actions and wholly

improper.’” Id. at 72 (quoting Eisen v. Carlisle & Jacquelin, 479 F.2d 1005, 1018 (2d Cir.

1973), vacated on other grounds, 417 U.S. 156 (1974)). Cy pres awards, of course, have

nothing to do with “computing damages.” Instead, the proper measure of damages is

determined prior to the entry of judgment, only after which may cy pres be considered as

a potential solution to the problem of the imperfect distribution of the damages already

fully computed. Contrary to what DISH appears to believe, charitable entities are not

individual class proxies, and computation is not distribution. Not even Judge Jones thinks

differently. See Klier, 658 F.3d at 481 n.1 (Jones, J., concurring) (recognizing that “[a]t

least one court has concluded that “fluid recovery” judgments—which differ materially

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from cy pres distributions—do not violate the Rules Enabling Act” (citation omitted)

(emphasis added)).

       An examination of DISH’s cited authorities on “fluid recovery” reveals that none

involved cy pres distributions. Eisen, as the Fourth Circuit acknowledged in Windham,

focused on the unsuitability of fluid recovery as a mechanism for calculating class damages

in the first instance. See 479 F.2d at 1011 (indicating that “proof of damages” bore on

problem of case manageability and noting that plaintiff “concedes that the action is not

manageable if fluid class recovery is not permissible”). Similarly, in Van Gemert v. Boeing

Co., 553 F.2d 812, 816 (2d Cir. 1977) (DISH Br. at 16), no cy pres award was at issue; the

court instead merely expressed its preference for reversion over what it called “fluid class”

recovery, whereby funds unclaimed by some class members would be redistributed to those

who had already filed valid proofs of claim.

       Augustin v. Jablonsky (DISH Br. at 8, 14, 16), supra, decided by a New York district

court, unsurprisingly reached the same result as the Second Circuit in Van Gemert, buoyed

by the earlier decision of the same court of appeals in Eisen. Again, no cy pres award was

at stake. The court in Jablonsky simply held, as occurred in Van Gemert, that reversion

was preferable to a pro rata distribution of unclaimed funds to claiming class members.

See 819 F. Supp. 2d at 177. The Jablonsky court cited Eisen for the inexact proposition

that “the Second Circuit condemns fluid recovery which is defined as a distribution of an

aggregate class recovery or an unclaimed portion thereof under cy pres principles to the

next best class of persons.” Id. Given the nuances of analysis, the district court in

Jablonsky can perhaps be forgiven for conflating the principles of cy pres (but not cy pres

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itself) with the concept of a substitute class of persons, which the Newberg treatise and

Judge Jones herself recognize have nothing to do with cy pres entities.

       Finally, Mirfasihi v. Fleet Mortgage Corp., 356 F.3d 781 (7th Cir. 2004) (DISH Br.

at 17), offers no succor to DISH. Like all the other cases on which DISH relies to bootstrap

its “fluid recovery” argument, Mirfasihi involved no actual cy pres award. Rather, counsel

in the case contended that a subclass of 1.4 million members who would receive nothing

from the settlement on appeal had nonetheless obtained a worthwhile “cy pres remedy” by

having the $243,000 in restitution due them distributed instead to the primary class

numbering only 190,000, who were otherwise due themselves to receive a maximum of

$2.4 million. See id. at 784. Judge Posner, appreciating the origin of the term cy pres as a

trust doctrine imperfectly analogous to the class action remedy of the same name, merely

ruminated that the term “fluid recovery” as an alternative “is no less misleading.” Id. There

is simply no legal impediment, and particularly in the Fourth Circuit, to this Court’s

approval of a cy pres award of unclaimed class funds.

       5. The Court has discretion to direct distribution via state unclaimed property
          funds.

       Thirteen states have enacted laws expressly authorizing the collection and retention

of “property received by a court as proceeds of a class action, and not distributed pursuant

to the judgment.” Ethan D. Millar and John L. Coalson, Jr., The Pot of Gold at the End of

the Class Action Rainbow, 70 U. PITT. L. REV. 511, 519 (2009). The rest provide for the

holding of unclaimed property generally. See id.




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      It is likely that, if the Category 3 funds are transferred to the unclaimed property

repositories indicated by the class members’ addresses, the vast majority of those funds

will eventually escheat to the respective jurisdictions. DISH’s professed concerns of “a

wrongful end-run around the post-trial process for class member identification” (DISH Br.

at 19) is thus misguided. For those few class members who successfully pursue belated

claims for class proceeds, they must satisfy rigorous state requirements for proof of

identity and residence. And those class members will generally receive less — perhaps

much less — than they would have had they timely filed a claim in this proceeding,

negating any suggestion of a deliberate stratagem to avoid this Court’s claim protocols.

This Court possesses ample discretion to direct disbursement of Category 3 funds to the

various States and the District of Columbia for safekeeping pending the likelihood of

escheat.

                                      Conclusion

      For the reasons set forth above and in his opening brief, Plaintiff respectfully

requests the Court grant his motion and rule in substantial conformance with Plaintiff’s

proposed order.

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                            CERTIFICATE OF SERVICE

       The undersigned counsel certifies that the foregoing was filed through this Court’s
CM/ECF system, and that all attorneys of record will be sent a copy of the same
electronically through that system.

                                                /s/ John W. Barrett
                                                John W. Barrett

Dated: May 21, 2020




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                        CERTIFICATION OF WORD COUNT
      Pursuant to Local Rule 7.3, the undersigned verifies that, using the Microsoft
Word count tool, the word count for Plaintiff’s Reply in Support of Motion for Entry of
Order Governing Disposition of Undisbursed Class Funds is 3,196 words. This word count
does not include the caption, signature lines, certificate of service, cover page, table of
contents or table of authorities.

                                                 Respectfully submitted,

                                                 /s/ John W. Barrett
                                                 John W. Barrett




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